Case 1:21-cv-00154-N/A Document1 Filed 04/05/21 Page 1 Off{rm, 4-4

 

 

 

UNITED STATES COURT OF INTERNATIONAL TRADE FORM 1
Viecura Inc.
Plaintiff, SUMMONS
V. Court No. 21-00154
UNITED STATES,
Defendant.

 

 

 

 

 

TO: The Attorney General and the Secretary of Homeland Security:

PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28

U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).

/s/ Mario Toscano

 

 

 

Clerk of the Court
PROTEST
ry. Boston - 0401 Date Protest September 28, 2020
Protest Q401-20-102363 Date Protest October 29, 2020

 

Importer: Viecura Inc.

 

Category of

Merchandise: incontinence fixation pants

 

ENTRIES INVOLVED IN ABOVE PROTEST

 

Entry Date of Date of Entry Date of Date of
Number Entry Liquidation Number Entry Liquidation

 

901-1124622-0 | May 5, 2019] April 3, 2020 | 901-1124667-5 | May 10, 2019] April 10, 2020

 

901-1124707-9 |May 18, 2019} April 17, 2020

 

 

 

 

 

 

 

 

 

Herbert J. Lynch, Esq.

Port Director, Sullivan & Lynch, P.C.
; 0 Turnpik , Sui
U.S. Customs and Border Protection on primer WA Dthas 900
10 Causeway Street, Suite 603 tel: 617-591-8787
Boston, MA 02222 email: Lynch @S-L.com
Address of Customs Port in Name, Address, Telephone Number

Which Protest was Denied and E-mail Address of Plaintiff's Attorney

 
Case 1:21-cv-00154-N/A Document1 Filed 04/05/21 Page 2 off{m 4-9

CONTESTED ADMINISTRATIVE DECISION

 

 

Appraised Value of Merchandise

 

Statutory Basis Statement of Value

 

Appraised:

 

Protest Claim:

ee

 

 

Classification, Rate or Amount

 

Protest Claim

 

 

Assessed
Paragraph or Paragraph or
Merchandise Item Number Rate Item Number Rate
incontinence |6108.22.9020 15.6% 9817.00.96 - Free
6108.22.9020

fixation pants

 

 

 

 

 

Other
State Specifically the Decision [as Described in 19 U.S.C. § 1514(a)] and the Protest Claim:
denial of entitlement to entry under Subheading 9817.00.96, Harmonized Tariff

Schedule of the United States (HTSUS)

The issue which was common to all such denied protests:
whether incontinence fixation pants are specially designed or adapted for the use or benefit of the
physically handicapped entitled to entry under HTSUS subheading 9817.00.96

 

 

 

 

 

 

Every denied protest included in this civil action was filed by the same above-named importer, or by an authorized person
in the importer's behalf. The category of merchandise specified above was involved in each entry of merchandise included
in every such denied protest. The issue or issues stated above were common to all such denied protests. All such protests
were filed and denied as prescribed by law. All liquidated duties, charges or exactions have been paid, and were paid at

the port of entry unless otherwise shown. 4
oA om
/s/ Herbeyvt'J. Lyndh
Signature of Plaintiff's Attorney

April 5, 2021

Date
